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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

KATHLEEN TAYLOR,                                     )
                                                     )
                 Plaintiff,                          )       Case No. 17-cv-05704
                                                     )
vs.                                                  )       Hon. John J. Tharp, Jr.
                                                     )
CLIENT SERVICES, INC.,                               )
                                                     )
                 Defendant.                          )

        SARAH BARNES’ RESPONSE TO RULE TO SHOW CAUSE AND PARTIAL
      JOINDER TO MICHAEL WOOD AND CELETHA CHATMAN’S RESPONSE TO
                           RULE TO SHOW CAUSE

        I, Sarah Barnes, the undersigned attorney, hereby submit my Response to the Rule to

Show Cause issued by the Court on September 12, 2018 (ECF No. 25), and join, in part, the

Response to Rule to Show Cause submitted by attorney Michael Wood and Celetha Chatman:

        I began my employment at Community Lawyers Group (“CLG”) on August 14, 2017 as

an associate attorney with the firm. My employment with CLG ended on May 7, 2018, when I

accepted an associate position with my current law firm. On July 11, 2018, I filed a Motion to

Withdraw as Counsel for Plaintiff Kathleen Taylor, which was granted by this Court without an

appearance on July 12, 2018. (ECF No. 24). I have been employed with the new law firm since

May 14, 2018, and I primarily practice in estate planning, estate administration, and trust dispute

litigation. As I am no longer employed by CLG, I write separately from attorneys Michael

Wood and Celetha Chatman, only to address my individual involvement with this matter, and

Bass v. Portfolio Recovery Associates, LLC, referenced in the Court’s Order of September 12,

2018, and to join in part Attorney Wood and Chatman’s Response, as it relates to my role in

these matters.




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       Based on the record, and as referenced in Mr. Wood and Ms. Chatman’s Response,

Plaintiff Kathleen Taylor’s Complaint was filed on August 4, 2017, ten days before my

employment with CLG began. On September 21, 2017, Client Services filed a Motion to

Dismiss pursuant to Fed. R. Civ. P. 12(b)(6) and supporting Memorandum of Law (ECF Nos. 10,

11), which was noticed for presentment on October 5, 2017. Based on my review of the

CM/ECF e-mail notification from October 5, 2017, I filed my appearance on behalf of Plaintiff

Taylor shortly before the scheduled court time that morning, for the sole purpose of appearing in

court because Mr. Wood and Ms. Chatman were unavailable.

       The extent of my involvement with the Taylor case was my appearance on the morning

of October 5, 2017. For a motion presentment court date, I would have been instructed to

request and agree to a briefing schedule, allowing time for Plaintiff to draft and file a response to

the motion to dismiss. I concur with the representations made in Attorney Wood and Chatman’s

Response regarding my involvement, or lack thereof, in the Taylor matter, as I was not involved

in the preparation or drafting of Plaintiff’s response to Client Services’ motion to dismiss, nor

did I conduct research for or review Plaintiff’s response. I also did not sign or submit Plaintiff

Taylor’s Response to Motion to Dismiss. At no time did I knowingly or deliberately fail to

advise or otherwise conceal to this Court the Seventh Circuit holding in Evory v. RJM

Acquisitions Funding LLC, 505 F.3d 769 (7th Cir. 2007) in violation of Rule 3.3(a)(2) of the

ABA Model Rules of Professional Conduct and the identical Rule 3.3(a)(2) of the Illinois Rules

of Professional Conduct of 2010.

       The Court’s Rule to Show Cause also references Bass v. Portfolio Recovery Associates,

LLC (“Bass”). The Complaint in Bass was dismissed with prejudice by Judge Andrea R. Wood

on August 22, 2018. Portfolio Recovery Associates, LLC (“PRA”)’s Motion to Dismiss in Bass




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was filed on January 10, 2018 based on the holding in Evory. I did not have an appearance filed

in Bass and was never counsel of record at any point in the Bass case. As such, I did not receive

notice of PRA’ Motion to Dismiss via CM/ECF when it was filed.1 I further concur with

Attorney Wood and Chatman’s representations that I was not asked to, and did not assist in the

drafting, review or filing of Plaintiff’s Response in Bass on March 5, 2018. I recognize the

importance of my legal and ethical obligations as a practicing attorney, and I take these

obligations seriously. At no time did I knowingly or deliberately fail to advise or otherwise

conceal to this Court the holding in Evory v. RJM Acquisitions Funding LLC, 505 F.3d 769 (7th

Cir. 2007).

        WHEREFORE, I, Sarah Barnes, the undersigned attorney, respectfully request that this

Court find that my conduct in connection with this matter did not violate Federal Rule of Civil

Procedure 11, and therefore assess no sanctions against me in connection with this matter.



                                                           Respectfully submitted,

                                                           /s/Sarah M. Barnes
                                                           Sarah M. Barnes


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  The Certificate of Service attached to PRA’s Motion to Dismiss Plaintiff’s Complaint (ECF No. 12) and
Memorandum of Law in support thereof (ECF No. 13) mistakenly state that service was made via CM/ECF on Sarah
Barnes and Holly McCurdy as counsel for plaintiff. Neither Sarah Barnes nor Holly McCurdy had filed appearances
in Bass v. Portfolio Recovery Associates, LLC on January 10, 2018.


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                                 CERTIFICATE OF SERVICE

        I, an attorney, hereby certify that on October 10, 2018, I caused to be electronically filed
the foregoing SARAH BARNES’ RESPONSE TO RULE TO SHOW CAUSE AND
PARTIAL JOINDER TO MICHAEL WOOD AND CELETHA CHATMAN’S
RESPONSE TO RULE TO SHOW CAUSE with the Clerk of the Court using the CM/ECF
system which will send notification of such filing to all counsel of record.

                                                              /s/Sarah M. Barnes
                                                              Sarah M. Barnes




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